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5    Attorney for Defendant
6

7                           IN THE UNITED STATED DISTRICT COURT

8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

9    UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00298 OWW
                                                     )
10                  Plaintiff,                       )
                                                     )   STIPULATION AND ORER TO CONTINUE
11          vs.                                      )   DATE FOR SENTENCING
                                                     )
12   DONALD MONACO,                                  )   DATE: February 28, 2011
                                                     )   TIME: 9:00 AM
13                  Defendant.                       )   Honorable Oliver W. Wanger
14

15          It is hereby stipulated between the parties that the sentencing hearing in this matter be
16   continued from February 28, 2011 at 9:00 am, to March 21, 2011 at 9:00 am. The reason for the
17   continuance is that counsel for the defendant has been in trial in Tulare County Superior Court in
18   the case of People of the State of California v. Danny Williams, case no. VCF 22476, since
19   January 18, 2011. The trial concluded late in the day February 23, 2011, but counsel needs the
20   additional time to adequately prepare for defendant’s sentencing.
21
     Dated: February 24, 2011                              /s/Carl M. Faller
22                                                         CARL M. FALLER
                                                           Attorney for Defendant
23
                                                           BENJAMIN B. WAGNER
24
                                                    By /s/Kimerly Sanchez
25
                                                          KIMBERLY SANCHEZ
26                                                        Assistant U. S. Attorney
                                                          Attorney for the United States
27

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                                Case 1:09-cr-00298-AWI Document 113 Filed 02/25/11 Page 2 of 2



1                                                               ORDER:

2                             IT IS ORDERED that defendant’s sentencing hearing currently set for February 28, 2011

3    at 9:00 am., be continued until March 21, 2011 at 9:00 am.

4
     IT IS SO ORDERED.
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6                          Dated:   February 25, 2011                        /s/ Oliver W. Wanger
     DEAC_Signature-END:
                                                                      UNITED STATES DISTRICT JUDGE
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     emm0d64h
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